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      UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE



ESTHER HOFFMAN, et al.,                                 JUDGMENT IN A CIVIL CASE

                          Plaintiffs,                   CASE NO. C18-1132-JCC
             v.

TRANSWORLD SYSTEMS
INCORPORATED, et al.,

                          Defendants.




__     Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

_ X_ Decision by Court. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered.
THE COURT HAS ORDERED THAT:

       On November 2, 2018, Defendants’ motion to dismiss was granted in part and denied in

part, and Plaintiffs were given 30 days to file an amended complaint curing the deficiencies

identified by the Court’s order. (Dkt. No. 29.) Plaintiffs’ subsequent motion for reconsideration

was denied (Dkt. Nos. 33, 44), and Plaintiffs have not timely filed an amended complaint.

Therefore, Plaintiffs do not have any remaining claims against Defendants, and this action is

DISMISSED with prejudice.

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DATED this 4th day of January 2019.

                                      WILLIAM M. MCCOOL
                                      Clerk of Court

                                      /s/ Tomas Hernandez
                                      Deputy Clerk
